Case 9:11-cr-80205-KAM Document    549 Entered on FLSD Docket 07/30/2018 Page 1 of 1
                           United States v. Mitchell Stein, 11-cr-80205
                                                      Government Exhibit List 7/30/2018

2018 Sentencing       Exhibit Number -
Exhibit Number        Prior Proceeding     Description                                              Bates Range
                    1 Trial Ex. 69         9.20.07 Press Release Announcing $1.98M in Sales         USA-MS-0000005854
                    2 Trial Ex. 72         9.25.07 Press Release Announcing $3.3M in Sales          USA-MS-0000005855
                    3 Trial Ex. 76         10.10.07 Press Release Announcing $551K in Sales         USA-MS-0000005856
                    4                      Webcast Transcript 4.14.18                               HT-SEC 005615 - HT-SEC 0005626
                    5 Trial Ex. 159        10-Q of 8.15.08                                          USA-MS-0000006009 - USA-MS-0000006054
                    7                      4.7.08 and 4.11.08 Press Releases
                   10                      Email from Taylor to Stein, 4.14.08                      DOJ-TAYLOR_000036
                   21                      SGN FTDs data                                            USA-MS-0000005832
                   22                      Bluesheet Trading Data - PDF                             USA-MS-0000000653 - USA-MS-0000005801
                   23                      Bluesheet Trading Data - Excel                           USA-MS-0000008176
                   30                      Expert Report by Dr. Chyhe Becker
                   31                      Expert Rebuttal Report by Dr. Chyhe Becker
                   32                      SEC Intrinsic Price Spreadsheet                          USA-MS-0000008177
                   40                      Relevant Period Loss Spreadsheet                         USA-MS-0000008121 - USA-MS-0000008169
                   41                      Narrow Period Loss Spreadsheet                           USA-MS-0000008099 - USA-MS-0000008120
                   69 Trial Ex. 108        Accepted Stock Certificate for 247,000 Shares for        SC00035393; DOJ-REPROD-01434719
                                           Muscillo
                   71                      Luxembourg Account Documents                             DOJ-LUX MLAT_000107 - DOJ LUX
                                                                                                    MLAT_002072
                   72 Sentencing Ex. 344   Stock Certificate for Shares Issued to D Clemens
                                           Trust
                   73 Sentencing Ex. 343   Stock Certificate for Shares Issued to C Roberto Trust

                  101                      Summary Exhibit - Economic Analysis
                  102                      Summary Exhibit - Victim Loss Calculations
                  103                      Summary Exhibit - Individual Losses
                  104                      Summary Exhibit - Modified Recissory Method
                  109 Trial Ex. 258        Summary Exhibit - Martin Carter, Assets Received
                                           from Signalife
                  110 Trial Ex. 259        Summary Exhibit - Funds to Mitchell Stein
                  113                      Summary Exhibit - Gain to the Defendant
                  114                      Summary Exhibit - Loss to Signalife
                  115 Sentencing Ex. 346   Summary Exhibit - Silver Group, SGN Stock
                                           Issuance and Valuation, May 2006 - November 2007
              121                          Summary Exhibit - Loss Calculations
              122                          Summary Exhibit - Webcast Intra-day Trading
             122A                          Data Relied upon in Summary Exhibit 122
              200                          SEC v. Drucker, et. al., Declaration of Edward
                                           O'Neal (2006)
                  204                      In re American Mutual Funds Fee Litigation,
                                           Opinion (2009)
                  205                      SEC v. Symbol Techologies , Expert Report of
                                           Edward O'Neal (2010)
                  206                      Does Silence Speak? An Empirical Analysis of
                                           Disclosure Choices during Conference Calls by
                                           Hollander, et. al.
                  207                      No News is News: Do Markets Underreact to
                                           Nothing? by Giglio, et. al. (2014)
                  210                      ATSI Communications, Inc. v. The Shaar Fund, LTD,
                                           et. al., Memorandum and Order (2008)
                  212                      ATSI Communications, Inc. v. The Shaar Fund, LTD,
                                           et. al., United States Second Circuit Court of Appeals
                                           Decision (2009)
